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U. S. BARKRUPTCY CTOURT
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RECENEU/l“ili~
August 9, 2017

Via FedEx ‘
Clerk of Court

United States Bankruptcy Court

Eastem District of New York

Alfonse M. D’Amato Federal Courthouse
290 Federal Plaza

Central Islip, NY 11722

Re: In re: Craig S. Taddonio
U.S. Bankruptcy Court Case No. 16-74128-las
Adversary Proceeding No. 17-08181-las

Dear Sir/Madam,

l represent the Plaintiff Jonathan Byrd 1n the above referenced adversary proceeding The
Complaint 1n the adversary proceeding was timely filed with a summons issued by your office However,
we were unable to obtain service on the Defendant Craig Taddonio. As such, we request that a new
summons be issued. Please be aware that I am not registered at this time with ECF.

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l As well, this case was assigned to Judge Scarcella who pursuant to a June 2, 2017 Order Setting
Pretrial Conference set the pretrial conference for August 10, 2017. ln light of the service issue please
notify the judge’s office of the lack of service so that the hearing is canceled and reset for a date following
service of the Complaint.

Thank you in advance and please feel free to call my office if you have any questions or require
additional information.

Respectfully,

/s/ Hilton Wiener
Hilton Wiener, Esq.
HMW/sdb
Cc: Hon. Louis A. Scarcella (via FedEx)
j United States Bankruptcy Court Judge

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